     Case 12-19328-elf         Doc 34     Filed 02/16/18 Entered 02/16/18 09:23:24               Desc Notice
                                         of Trustees Final Page 1 of 1
                             UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________________________________________________________________
In Re: Maryrose Celia
               Debtor(s)                                  Bankruptcy No: 12−19328−elf
                                                          Chapter: 13
_____________________________________________________________________________________________
                                           NOTICE



To the debtor, debtor's counsel, trustee, and all creditors and parties in interest, NOTICE IS GIVEN THAT:


        1. The Standing Chapter 13 Trustee has filed his final report and account.
        2. Any answer, objection, responsive pleading or request for hearing with regard to the discharge
        of the debtors, including any request to delay the entry of discharge pursuant to 11 U.S.C.
        §1328(h), must be filed in writing with the Clerk of the U.S. Bankruptcy Court,

                        900 Market Street
                        Suite 400
                        Philadelphia, PA 19107

        within 30 days from the date of this notice.



        3. In the absence of any objection, the Court may enter the Order of Discharge.




                                                           For The Court

                                                           Timothy B. McGrath
                                                           Clerk of Court

Dated: 2/16/18



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                                                                                                            Form 138_new
